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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION


UNITED STATES OF AMERICA,

                                  Plaintiff,

v.                                                               Case 2:23-cr-20191-MSN

EMMITT MARTIN, III,
TADARRIUS BEAN,
DEMETRIUS HALEY, and
JUSTIN SMITH,

                                  Defendants.



                ORDER DENYING MOTION IN LIMINE TO RESTRICT
               LAY OPINION TESTIMONY REGARDING USE OF FORCE


       Before the Court is Defendant Demetrius Haley’s Motion in Limine to Restrict Lay

Opinion Testimony Regarding Use of Force (“Motion in Limine”) (Docket Entry (“D.E.”) # 158),

which has been joined by Defendants Justin Smith (D.E. #161) and Tadarrius Bean (D.E. #180).

The instant motion has been referred to the United States Magistrate Judge. (D.E. #248). For

the reasons set forth herein, the Motion in Limine is hereby DENIED.

       I.      Background

       On September 12, 2023, Defendants Haley, Bean, and Smith, who were detectives with the

Memphis Police Department (“MPD”), were indicted along with two other MPD detectives on the

MPD SCORPION team in relation to a traffic stop that resulted in the death of Tyre Nichols

(“Nichols”).   (See D.E. #1, #2).    All five defendants were charged with committing the

following offenses on or about January 7, 2023 under color of law and while aiding and abetting
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one another:

          •   Count One: Deprivation of rights by the use of excessive force upon Nichols
              and by failure to intervene in the unlawful assault of him in violation of Title
              18, United States Code, Sections 242 and 2.

          •   Count Two: Deprivation of rights under color of law by deliberate indifference
              to Nichols’ serious medical needs in violation of Title 18, United States Code,
              Sections 242 and 2.

          •   Count Four: Obstruction of justice by witness tampering in violation of Title
              18, United States Code, Section 1512(b)(3).

All five defendants were also charged with entering into the following conspiracy on or about

January 7, 2023:

         •    Count Three: Conspiracy to commit witness tampering in violation of Title 18,
              United States Code, Section 1512(k).

Defendant Desmond Mills, Jr. has since pled guilty to Counts One and Three of the Indictment.

(See D.E. #90, #91, #92). The remaining defendants are being tried jointly.

         On February 7, 2024, Defendant Haley filed the instant Motion in Limine, which

Defendants Bean and Smith have joined. This motion pertains to the United States’ Notice of

Intent to Offer Hybrid or Expert Witness Testimony Regarding Use of Force Issues (“Notice”)

(D.E. #142), in which the Government states that it intends to five witnesses “to offer hybrid or

expert testimony regarding use of force issues.” 1 This motion does not challenge whether these

individuals may be able to testify as expert witnesses 2; instead, it relies upon United States v.


1
   The Government’s Notice and Response identifies these five potential witnesses as Juan Gonzalez,
Lance Wright, Kevin Barnett, Zavid Saleem, and Tracey Branch and explains that these individuals were
use-of-force trainers who personally trained Defendants and former Defendant Mills at the 123rd, 125th, and
133rd Sessions of the Memphis Police Academy. (See D.E. #142 at PageID 592, PageID 600-607; D.E.
#214 at PageID 2625, n.2).
2
    Defendant Haley has raised challenges to these individuals’ testimony as expert witnesses in a separate

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Perkins, 470 F.3d 150 (4th Cir. 2006), to argue that witnesses who were not on the scene of the

incident giving rise to the charges in this case may not provide lay opinion testimony regarding

the use of force.

       On March 4, 2024, the Government filed its Response to the Motion in Limine. (D.E.

#214). The Government argues that courts routinely admit testimony from a defendant’s police

trainers in police misconduct cases under 18 U.S.C. §242 as evidence of willfullness, which is an

element of the offenses charged in Counts One and Two of the Indictment. Specifically, the

Government asserts that these witnesses personally trained Defendants and may provide lay

testimony on the following: (1) the policies, practices, and/or procedures in effect at the time of

the incident; (2) whether Defendants were trained to follow particular policies, practices, and/or

procedures and/or employ particular techniques; and, (3) whether Defendants were evaluated on

their skills regarding the use of force, handcuffing techniques, defensive tactics, the duty to

intervene, the duty to provide medical care, and the proper reporting of use of force. Additionally,

the Government argues that police trainers are permitted to review video evidence of the charged

conduct and to testify about whether the videos show the defendants applying the policies,

practices, procedures, and techniques that they were taught. Finally, the Government argues that

Defendants’ reliance upon Perkins is misplaced and that the Sixth Circuit has approved of lay

opinion testimony from use-of-force trainers in excessive force cases.




motion, (See D.E. #160), which Defendants Smith and Bean have also joined (D.E. #162, #181). This
motion has not been referred to the United States Magistrate Judge.


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       II.     Analysis

       Rule 701 of the Federal Rules of Evidence states that witnesses may provide lay opinion

testimony only if it is rationally based on the witness’s perception, helpful to understanding the

witness’s testimony or to determining a fact in issue, and not based on scientific, technical, or other

specialized knowledge within the scope of Rule 702.

       Section 242 prohibits the willful deprivation of rights under color of law. 18 U.S.C. §

242. In a Section 242, the “two most pressing questions” for the trier-of-fact are whether the

defendants used force unreasonably and, if so, whether they did so willfully. United States v.

Proano, 912 F.3d 431, 438 (7th Cir. 2019). A defendant acts willfully if he acted, or failed to act,

voluntarily and intentionally while knowing or recklessly disregarding the possibility that his

actions were unlawful. United States v. Corder, 724 Fed. App’x 394, 403 (6th Cir. 2018).

       Evidence of an officer’s training can help inform his state of mind. Proano, 912 F.3d at

439 (citing cases upholding the admission of training and policy evidence to show willfullness).

For example, if an officer has been trained to do certain things when confronted with tense

situations and does so, the fact that he acted in accordance with his training may make it less likely

that he acted willfully. Id. On the contrary, if an officer has been trained that officers should not

do certain things when confronted with tense situations yet they do so anyway, this may make it

more likely that they acted willfully and either knew or recklessly disregarded the possibility that

their actions were leading to the deprivation of an individual’s constitutional rights. Id.; see also

United States v. Bryant, 528 F. Supp. 3d 814, 816 (M.D. Tenn. 2021) (concluding that, “without

question,” evidence of an officer’s training and the policies in effect at the time of his actions may

help demonstrate willfullness).


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       The Government’s proposed witnesses, who personally trained Defendants on the use of

force, are being offered to testify as to their personal knowledge of the policies, practices, and

procedures that were in effect at the time of the incident and their personal knowledge of how they

themselves trained Defendants to approach situations involving the use of force and other matters.

As discussed, supra, such testimony is pertinent to the question of whether Defendants willfully

employed excessive force. Thus, the Court concludes that the Rule 702 permits the Government’s

proposed use-of-force witnesses and any other subsequently designated witnesses with personal

knowledge of these topics to provide lay opinion testimony on these issues.

       Beyond this question, the parties dispute whether these proposed witnesses may

additionally testify about any opinions they formed after watching video recordings of the incident.

This includes, but is not limited to, whether the actions and inactions they witnessed on the video

recordings comply with MPD policies, practices, and procedures and whether the actions and

inactions they witnessed on the video recordings are consistent with the training that they

personally provided Defendants. These opinions are not being offered as “ultimate question”

testimony on whether the extent of force was necessary under the particular circumstance; instead,

they are based on whether these Defendants’ actions and inactions were consistent with the

policies, practices, procedures, and techniques taught to them. These opinions draw from the

same personal knowledge discussed above – namely, what policies, practices, and procedures were




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in place at the time of the incident and what techniques were taught to Defendants. Thus, the

Court finds that Rule 702 permits lay opinion testimony on these questions. 3 4

        As to whether these proposed witnesses may watch video recordings and provide lay

opinions as to whether the force used was in fact excessive, the Government has repeatedly

conceded that this is inappropriate and that this is the ultimate question for the jury. Thus, the

Court need not consider that issue.



        III.     Conclusion

        For the reasons set forth herein, Defendants’ Motion in Limine is hereby DENIED.



        IT IS SO ORDERED this 4th day of June, 2024.



                                                       s/ Charmiane G. Claxton
                                                       CHARMIANE G. CLAXTON
                                                       UNITED STATES MAGISTRATE JUDGE


3
    The Government’s Notice also states that these proposed witnesses may testify based upon their review
of Defendants’ use-of-force reports and Defendants’ statements. (See D.E. #142 at PageID 598).
Although not specifically discussed in Defendant’s motion, the reasoning set forth above with respect to
lay opinions formed after viewing video recordings would also apply to lay opinions formed after reading
Defendants’ own prepared reports and statements about their actions or inactions. Thus, the Government’s
proposed use-of-force witnesses may provide lay opinion testimony as to whether the actions or inactions
described in Defendant’s reports and statements were consistent with how they personally trained them to
perform their duties as law enforcement officers.
4
  Perkins does not necessitate a different conclusion, as it did not create a bright-line rule that officers who
did not personally witness the incident giving rise to Section 242 charges could not testify for any reason
under Rule 702. Instead, it concluded that two officers, one of whom was a use-of-force trainer, could not
provide lay testimony in response to “hypothetical questions based on second-hand accounts.” Here, the
Government has clearly stated that it does not seek to elicit lay testimony through hypothetical questioning
but, instead, seeks to ask these proposed witnesses questions regarding the training that they provided to
officers regarding policies, procedures, practices, and proper techniques.

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